Case 1:25-cv-00039-JJM-PAS      Document 98       Filed 02/10/25    Page 1 of 3 PageID #:
                                      6655



                          UNITED STATES DISTRICT COURT
                            DISTRICT OF RHODE ISLAND


STATE OF NEW YORK, et al.,

              Plaintiffs,

              v.                                    Civil Action No. 1:25-cv-39 (JJM)

DONALD TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE
UNITED STATES, et al.,

                            Defendants.

                         DEFENDANTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States

Court of Appeals for the First Circuit from this Court’s Temporary Restraining Order,

entered at ECF No. 50 and dated January 31, 2025; this Court’s Text Order of

February 6, 2025 extending the Temporary Restraining Order; and this Court’s Order

entered at ECF No. 96 and dated February 10, 2025.

       Defendants intend to request a stay of this Court’s Orders pending appeal,

including an immediate administrative stay, from the United States Court of Appeals

for the First Circuit.



Dated: February 10, 2025                  Respectfully submitted,

                                          BRETT A. SHUMATE
                                          Acting Assistant Attorney General

                                          ALEXANDER K. HAAS
                                          Director




                                           -1-
Case 1:25-cv-00039-JJM-PAS   Document 98   Filed 02/10/25   Page 2 of 3 PageID #:
                                   6656



                                   /s/ Daniel Schwei
                                   DANIEL SCHWEI
                                   Special Counsel (N.Y. Bar)
                                   ANDREW F. FREIDAH
                                   EITAN R. SIRKOVICH
                                   Trial Attorneys
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street NW
                                   Washington, DC 20530
                                   Tel.: (202) 305-8693
                                   Fax: (202) 616-8460
                                   Email: daniel.s.schwei@usdoj.gov

                                   Counsel for Defendants




                                    -2-
Case 1:25-cv-00039-JJM-PAS     Document 98     Filed 02/10/25     Page 3 of 3 PageID #:
                                     6657



                        CERTIFICATION OF SERVICE

       I hereby certify that on February 10, 2025, I electronically filed the within
Certification with the Clerk of the United States District Court for the District of
Rhode Island using the CM/ECF System, thereby serving it on all registered users in
accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.



                                              /s/ Daniel Schwei
                                              Daniel Schwei




                                        -3-
